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1                           UNITED STATES DISTRICT COURT

2                          EASTERN DISTRICT OF CALIFORNIA

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4    UNITED STATES OF AMERICA,                   No.      2:14-cr-00083-GEB
5                     Plaintiff,
6          v.                                    ORDER
7    ALEKSANDR MASLOV,
8                     Defendant.
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10                On May 25, 2017, chambers received from the Warden of

11   the Federal Bureau of Prisons Metropolitan Detention Center in

12   Los   Angeles,     California       a    letter      dated    May     25,   2017,   and   a

13   Forensic Evaluation concerning Defendant Aleksandr Maslov.

14                The Clerk of the Court shall only serve the United

15   States     and   counsel   for   Defendant           Maslov    with     a   copy    of   the

16   Forensic Evaluation, and shall file the May 25, 2017 letter on

17   the   public     docket.      The       Clerk   of    the     Court    shall   file      the

18   Forensic Evaluation under seal; and the Docket Text concerning

19   this sealing shall state: “Sealed Forensic Evaluation concerning

20   Defendant Aleksandr Maslov’s competency.”

21                Dated:   May 26, 2017

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